
B.D. PARKER, JR., Circuit Judge,
concurring:
I concur in the judgment and in the majority’s opinion, except that I do not agree that the Bankruptcy Court’s denial of Appellant Smith’s motion to dismiss constituted an abuse of discretion. Where, as here, the standard of review is abuse of discretion, the lower court’s “findings and conclusions must ... at least be sufficient to permit meaningful appellate review; and where such findings and conclusions are lacking, we may vacate and remand.” In re Mazzeo, 167 F.3d 139, 142 (2d Cir.1999). That is exactly the situation presented to us. I believe that the current record is insufficiently developed for us to determine whether the Bankruptcy Court’s conclusion was within the scope of its broad discretion, and that vacatur for further consideration is warranted. This disposition leaves the door open on remand for the Bankruptcy Court to reach a different,’ or the same, conclusion, with either result having the benefit of a more fully developed record. In view of these possibilities, I believe that it is both inappropriate and inaccurate to characterize the earlier actions of the court below as an abuse of discretion.
